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                IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 UNITED STATES OF AMERICA,
           Plaintiff,                                   MEMORANDUM DECISION AND
                                                        ORDER GRANTING DEFENDANT’S
                                                        MOTION IN LIMINE


                   vs.


 THOMAS SAY TANG,                                       Case No. 2:07-CR-161 TS
           Defendant.




       This matter is before the Court for consideration of Defendant’s Motion in Limine,1

wherein he seeks the exclusion of a “California Compassionate Use Act”2 card (the “Card”),

issued to the Defendant by the Oakland Cannabis Buyer’s Cooperative pursuant to the California

Compassionate Use Act. The Government filed an Opposition to this Motion.3

       Defendant argues that the Card is irrelevant under Rule 402 of the Federal Rules of

Evidence, or in the alternative that the Card should be excluded pursuant to Rule 403 because

any probative value will be substantially outweighed by unfair prejudice to the Defendant.



       1
        Docket No. 67.
       2
        Ann. Cal. Health & Safety Code § 11362.5.
       3
        Docket No. 74.

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Defendant agrees that neither California law nor possession of the Card offers any defense

against criminal prosecution. Defendant also argues that the Card will have a tendency to

confuse the jury, and prejudice the jury against the Defendant, due to an inference that the

Defendant is involved in the “marijuana culture,”4 when the card only exempts personal, medical

marijuana use by the holder. The Government responds that the card is probative of whether or

not Defendant could smell and recognize marijuana, which in turn is relevant because the

arresting officer will testify that the smell of marijuana was very strong near the passenger side

window of the truck. The government also argues that the card shows that the Defendant was

“familiar with and comfortable with the use, sale and purchase of marijuana.”5       Rule 401 of

the Federal Rules of Evidence defines as relevant any evidence that has “any tendency to make

the existence of any fact that is of consequence to the determination of the action more probable

or less probable than it would be without the evidence.”6 All relevant evidence is admissible

under Rule 402 unless otherwise excluded, such as by the provisions of Rule 403, which

excludes any evidence for which the probative value is “substantially outweighed”7 by the

tendency of the evidence to, among other things, prejudice the jury or confuse the issues.

       Based on the evidence presently before the Court, the Court finds that the Card is

probative evidence of an element that the government must prove – that the Defendant knew that

he was in possession of a controlled substance, specifically marijuana. The fact that the



       4
        Def.’s Mot. in Limine [hereinafter Motion] at 5.
       5
        Government’s Mem. Opp. [hereinafter Opposition] at 5.
       6
        Fed. R. Evid. 401.
       7
        Fed. R. Evid. 403.

                                                 2
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Defendant had been issued a card which enabled him to buy and possess marijuana under

California law is relevant to Defendant’s familiarity, knowledge and association with marijuana.8

The Card thus meets the requirements of Rule 401. The Court also finds that the probative value

of the Card is substantially outweighed by the tendency of the Card to prejudice the jury and

confuse the issues.

       Based upon the record before the Court at this time, it is therefore

       ORDERED that Defendant’s Motion in Limine to Exclude Evidence of Defendant’s

California Health and Safety Code Sec. 11362.5 Card is GRANTED. The Court will revisit the

Motion during trial should the government provide more evidence regarding the probative nature

of the evidence excluded by this Order.




       DATED September 15, 2008.

                                             BY THE COURT:



                                             _____________________________________
                                             TED STEWART
                                             United States District Judge




       8
        Opposition at 1.

                                                 3
